 Case 2:17-cv-00302-JDL Document 14 Filed 11/28/17 Page 1 of 1            PageID #: 68




                         UNITED STATES DISTRICT COURT

                                 DISTRICT OF MAINE

CHRISTIAN VENABLE          )
                           )
v.                         ) CIVIL NO. 2:17-cv-00302-JDL
                           )
LEWISTON POLICE DEPARTMENT )



                               ORDER OF DISMISSAL

      Plaintiff having failed to show any cause in response to this Court’s Order of

November 9, 2017, why this action should not be dismissed as to Defendant Katherine

Rooney,



      IT IS HEREBY ORDERED that this action be and it is DISMISSED as to

Defendant Katherine Rooney.



      SO ORDERED.

      Dated this 28th day of November, 2017.


                                        /s/ Jon D. Levy

                                        Jon D. Levy
                                        U.S. District Judge
